Case 2:05-cv-70188-PJD-DAS
             Case: 18-1055 Document:
                           ECF No. 608-1filedFiled:
                                             07/02/18
                                                    07/02/2018
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                 Filed: July 02, 2018




Mr. John S. Pallas
Office of the Attorney General
of Michigan
P.O. Box 30217
Lansing, MI 48116

Van Chester Thompkins Jr.
Kinross Correctional Facility
4533 W. Industrial Park Drive
Kincheloe, MI 49786

                     Re: Case No. 18-1055, In re: Van Thompkins, Jr.
                         Originating Case No. : 2:05-cv-70188 : 4:17-cv-14106

Dear Sir or Madam,

   The Court issued the enclosed (Order/Opinion) today in this case.

                                                 Sincerely yours,

                                                 s/Bryant L. Crutcher
                                                 Case Manager
                                                 Direct Dial No. 513-564-7013

cc: Mr. David J. Weaver

Enclosure

No mandate to issue
Case 2:05-cv-70188-PJD-DAS
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                                           No. 18-1055
                                                                                        FILED
                           UNITED STATES COURT OF APPEALS                         Jul 02, 2018
                                FOR THE SIXTH CIRCUIT                        DEBORAH S. HUNT, Clerk


                                                         )
                                                         )
In re: VAN CHESTER THOMPKINS, JR.,                       )
                                                         )           ORDER
       Movant.                                           )
                                                         )
                                                         )


       Before: MOORE, GIBBONS, and McKEAGUE, Circuit Judges.


       Van Chester Thompkins, Jr., a pro se Michigan prisoner, moves this court for an order
authorizing the district court to consider a second or successive 28 U.S.C. § 2254 habeas corpus
petition. See 28 U.S.C. § 2244(b).
       In 2002, a jury convicted Thompkins of first-degree murder, assault with intent to
commit murder, felon in possession of a firearm, carrying a concealed weapon, and three counts
of possession of a firearm during commission of a felony. The trial court sentenced Thompkins
to an aggregate term of life imprisonment without parole. The Michigan Court of Appeals
affirmed. People v. Thompkins, No. 242478, 2004 WL 202898 (Mich. Ct. App. Feb. 3, 2004),
perm. appeal denied, 683 N.W.2d 676 (Mich. 2004).
       Thompkins filed his initial § 2254 habeas corpus petition in 2005, raising claims of
prosecutorial misconduct, ineffective assistance of counsel, a violation of his right to remain
silent, and error in the denial of a motion to suppress. The district court denied the petition. This
court reversed the district court’s judgment denying relief as to his right-to-remain-silent and
ineffective-assistance-of-counsel claims and ordered that Thompkins be released from custody
unless the State of Michigan commenced a new trial within 180 days. Thompkins v. Berghuis,
547 F.3d 572 (6th Cir. 2008). The Supreme Court granted certiorari, however, and reversed and
remanded this court’s decision. Berghuis v. Thompkins, 560 U.S. 370 (2010).
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       Thompkins then sought relief from judgment pursuant to Federal Rule of Civil Procedure
60(b), alleging fraud on the court as the result of the false testimony of a detective. The district
court denied his motion. This court affirmed the district court’s judgment.           Thompkins v.
Berghuis, 509 F. App’x 517 (6th Cir. 2013). Additionally, treating the appeal as a request for
permission to file a second or successive petition, this court denied that request. Id.
       In his current motion, Thompkins states that he obtained a document through a Freedom
of Information Act request that suggested that prosecution witness Eric Purifoy received
immunity; Thompkins claims that the prosecutor maintained at trial that no immunity was given.
Thompkins also claims that he was denied his right to confront a witness against him who could
have given testimony as to whether or not he made incriminating statements after he invoked his
Fifth Amendment right to remain silent. This witness was another detective who was present
during Thompkins’s interrogation but who was never called to testify.
       To raise a new claim, Thompkins must make a prima facie showing that his application
presents a claim that “relies on a new rule of constitutional law, made retroactive . . . by the
Supreme Court” or presents facts that “could not have been discovered previously” and would
establish the petitioner’s actual innocence by clear and convincing evidence.             28 U.S.C.
§ 2244(b)(2), (b)(3)(C).
       Thompkins cannot make this showing. Thompkins does not rely on a new rule of
constitutional law, but on newly discovered facts. He has not established that his facts are either
actually newly discovered or that they establish his actual innocence, however. With respect to
Purifoy’s alleged immunity, Thompkins has not included a copy of the Freedom of Information
Act documentation upon which he relies.           Moreover, the district court opinion denying
Thompkins’s initial habeas petition expressly states that Purifoy was not given immunity.
       Thompkins’s allegation that he was denied his right to confront a witness against him
also does not establish a prima facie showing. Because the detective did not provide any
testimony, Thompkins did not have a constitutional right to confront or cross-examine him.
Should Thompkins wish to claim that defense counsel was somehow ineffective for failing to
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call the detective as a witness, that claim would not be newly discovered, but known to
Thompkins at the time of his trial.
       Accordingly, we DENY Thompkins’s authorization for leave to file a second or
successive habeas petition.


                                        ENTERED BY ORDER OF THE COURT




                                        Deborah S. Hunt, Clerk
